 Case 2:14-cv-04758-SB-AGR Document 209 Filed 01/24/20 Page 1 of 1 Page ID #:1724

                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                          CIVIL MINUTES - GENERAL
 Case No.          CV 14-04758JVS(AGRx)                                                  Date     January 24, 2020
 Title             Lafonzo R Turner v B.M. Cash, et al



 Present: The Honorable            James V. Selna, US District Court Judge
                     Rolls Royce Paschal                                              Sharon Seffens
                         Deputy Clerk                                                 Court Reporter
                Attorneys Present for Plaintiffs:                     Attorneys Present for Defendants:
                       Nicolette Glazer                                               Gregory Young


 Proceedings:           Scheduling Conference

        Cause called and counsel make their appearances. The Court and counsel confer.                    The Court
sets the case management dates with the agreement of counsel as follows:


                            Jury Trial                            July 28, 2020 at 8:30 a.m.

                            Final PreTrial Conference              July 13, 2020 at 11:00 a.m.
                             File PreTrial Documents not later than July 7, 2020
                             File motions in limine not later than June 15, 2020
                            Discovery Cut-off                      April 14, 2020
                            Expert Discovery Cut-off               May 1, 2020
                             Initial disclosure of Experts not later than April 14, 2020
                             Rebuttal disclosure of Experts not later than April 21, 2020
                            Law and Motion Cut-off                 June 8, 2020 at 1:30 p.m.
                              Motions to be filed and served not later than May 11, 2020




cc: ADR Office
                                                                                                   0      :     03

                                                               Initials of Preparer         rrp




CV-90 (06/04)                                  CIVIL MINUTES - GENERAL                                         Page 1 of 1
